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 1 CARLSON LYNCH LLP
   (EDDIE) JAE K. KIM (236805)
 2 ekim@carlsonlynch.com
   117 East Colorado Blvd., Suite 600
 3 Pasadena, CA 91105
   Tel: 619-762-1910
 4 Fax: 412-231-0246
 5 CARLSON LYNCH LLP
   GARY F. LYNCH (to be admitted pro hac vice)
 6 gynch@carlsonlynch.com
   EDWARD W. CIOLKO (to be admitted pro hac vice)
 7 eciolko@carlsonlynch.com
   1133 Penn Ave., 5th Floor
 8 Pittsburgh, PA 15222
   Tel: 412-322-9243
 9 Fax: 412-231-0246
10 Attorneys for Plaintiff and Proposed Class
11                         UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA
13                                  WESTERN DIVISION
14 INJUNE DAVID CHOI, on behalf of                  Case No. 2:20-cv-05573
   himself and all others similarly situated,
15                                                  CLASS ACTION COMPLAINT
                Plaintiff,
16                                                  JURY TRIAL DEMANDED
          v.
17
   THE UNIVERSITY OF SOUTHERN
18 CALIFORNIA,
19                Defendant.
20
21         Plaintiff, Injune David Choi (“Plaintiff”), by and through his undersigned counsel,
22 brings this class action against Defendant, the University of Southern California (the
23 “University” or “Defendant”), and alleges as follows based upon information and belief,
24 except as to the allegations specifically pertaining to him, which are based on personal
25 knowledge.
26                               NATURE OF THE ACTION
27         1.    This is a class action lawsuit on behalf of all persons who paid tuition and/or
28 fees to attend the University, for an in-person, hands-on education for the Spring 2020

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 1 semester, Summer 2020 semester, and any future semester where their course work
 2 moved to online learning. Such persons paid all or part of the tuition for this semester
 3 and mandatory fees that include a Student Health Service fee of $366, a Student
 4 Programming Fee of $64, and a Norman H. Topping Student Aid Fund of $8
 5 (collectively the “Mandatory Fees”). 1 Students may have incurred additional fees based
 6 on whether they were a freshman or transfer student, or depending upon which program
 7 they were enrolled in.
 8         2.    The University has not refunded any amount of the tuition or any portion
 9 of the Mandatory Fees, even though it has implemented online distance learning since
10 mid-March 2020.
11         3.    Because of the University’s response to the Coronavirus Disease 2019
12 (“COVID-19”) pandemic, by mid-March, the University ceased or severely limited any
13 of the services or facilities the Mandatory Fees were intended to cover.
14         4.    The University’s failure to provide the services for which tuition and the
15 Mandatory Fees were intended to cover since approximately mid-March is a breach of
16 the contracts between the University and Plaintiff and the members of the Class, and is
17 unjust.
18         5.    In short, as to tuition, Plaintiff and the members of the Class have paid
19 tuition for a first-rate education and educational experience, with all the appurtenant
20 benefits offered by a first-rate university, and were provided a materially deficient and
21 insufficient alternative, which constitutes a breach of the contracts entered into by
22 Plaintiff and the Class with the University.        As said in New York Magazine,
23 “Universities are still in a period of consensual hallucination with each saying, ‘We’re
24 going to maintain these prices for what has become, overnight, a dramatically less
25 compelling product offering.’”2
26
27   https://catalogue.usc.edu/content.php?catoid=11&navoid=3681#tuition_(semester),_
     1
   (estimated)
28 2 James D. Walsh, “The Coming Disruption,” New York Magazine, May 11, 2020,
   available at https://nymag.com/intelligencer/2020/05/scott-galloway-future-of-college.
   html?utm_source=fb (site last visited June 9, 2020).
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 1         6.      As to the Mandatory Fees, Plaintiff and the Class have paid fees for services
 2 and facilities which were simply not provided; this failure also constitutes a breach of
 3 the contracts entered into by Plaintiff and the Class with the University.
 4         7.      Plaintiff seeks, for himself and Class members, the University’s
 5 disgorgement and/or appropriate compensatory damages in return of the pro-rated
 6 portion of its tuition and Mandatory Fees, proportionate to the amount of time that
 7 remained in the Spring semester 2020, Summer semester 2020, and any future semesters
 8 when the University switched to online distance learning, strongly encouraged students
 9 to leave campus, and closed or ceased access to facilities and services.
10                                           PARTIES
11         8.      Plaintiff Injune David Choi is a citizen of California. He paid to attend the
12 Spring 2020 semester at the University of Southern California as an undergraduate
13 student.
14         9.      Plaintiff paid tuition and the Mandatory Fees for the Spring 2020 semester
15 to enable him to obtain an in-person, on-campus educational experience and enable him
16 to participate in the activities and to utilize the services covered by the Mandatory Fees
17 that he paid.
18         10.     He has not been provided a pro-rated refund of the tuition for his in-person
19 classes that were discontinued and moved online, any of his dining fees, or any of the
20 Mandatory Fees he paid after the University’s facilities were closed or access was
21 severally limited and events were cancelled.
22         11.     The University of Southern California is California’s oldest private
23 research university founded in 1880.
24         12.     The University offers numerous major fields for undergraduate students, as
25 well as a number of graduate programs. The University’s programs include students
26 from many, if not all, of the states in the country.
27         13.     The University’s principal campus is located in Los Angeles, California.
28 Defendant is a resident of California.

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 1                              JURISDICTION AND VENUE
 2         14.   The Court has jurisdiction over this action pursuant to 28 U.S.C.
 3 § 1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005, because at least
 4 one member of the Class, as defined below, is a citizen of a different state than
 5 Defendant, there are more than 100 members of the Class, and the aggregate amount in
 6 controversy exceeds $5,000,000 exclusive of interests and costs.
 7         15.   This Court has personal jurisdiction over Defendant because Defendant
 8 maintains its principal place of business in this District.
 9         16.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because
10 Defendant resides in this District.
11                               FACTUAL ALLEGATIONS.
12         17.   Plaintiff and Class Members have paid, or will pay, tuition and the
13 Mandatory Fees to attend the University Spring 2020 semester, Summer 2020 semester,
14 and any future semester where in-person education is not provided.
15         18.   The Spring 2020 semester at the University of Southern California began
16 on or about January 13, 2020 and ended on or around May 13, 2020.3 The Summer 2020
17 semester began on or about May 20, 2020, and is scheduled to end on or about
18 August 11, 2020.4
19         19.   Tuition costs at the University of Southern California for the Spring 2020
20 and Summer 2020 semesters for a full-time student are estimated as follows:
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27   3
       https://csuip.calstate.edu/_customtags/ct_FileRetrieve.cfm?File_ID=65573
28   4
       https://academics.usc.edu/calendar/
     5
      https://catalogue.usc.edu/content.php?catoid=11&navoid=3681#tuition_(semester),_
     (estimated)
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 1             20.   In addition to tuition, Plaintiff, and the Class members each had to pay the
 2 Mandatory Fees for the Semester. The Mandatory Fees schedule was as follows:
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25             21.   Plaintiff and the members of the Class paid all or part of the applicable
26 tuition for the benefit of on-campus live interactive instruction and an on campus
27 educational experience throughout the entire semester.
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         Id.
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 1           22.   Plaintiff and the members of the Class paid the Mandatory Fees for the
 2 semester so they could benefit throughout the semester from all University’s facilities
 3 and services, recreation, athletics, health and wellness programs, and organizations,
 4 among many other benefits that the significant fees were paid to cover.
 5           23.   The University has retained the value of the tuition and Mandatory Fees,
 6 while failing to provide the services for which they were paid.
 7           24.   Members of the Class have demanded the return of the prorated portion of
 8 tuition, and Mandatory Fees, and have taken to online petitions to demand the same.7 As
 9 one University law student puts it, “[t]he tuition that USC Gould students have paid for
10 this semester is excessively disproportionate as compared to the value of what USC is
11 providing.”8
12           25.   Despite the demand from members of the Class, the University has not
13 provided any refund of the tuition or Mandatory Fees and continues to retain the monies
14 paid by Plaintiff and the Class.
15       In Response to COVID-19, the University Closed Campus, Preventing Access to its
                   Facilities and Services, and Cancelled All In-Person Classes
16
17           26.   In response to the COVID-19 pandemic, the University created a new
18 section for its website to post news alerts and updates, and to answer frequently asked
19 questions.9
20           27.   On March 6, 2020, the University announced that it will be testing online
21 lectures and seminars from March 11 through March 13 in case the University needed
22 to switch to remote online learning full-time. 10
23           28.   On March 10, 2020, the University announced that it was going to continue
24 remote online learning after spring break, from March 22 through March 29. This
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26   7
       https://www.change.org/p/usc-president-carol-l-folt-partial-tuition-reimbursement-at-
27 university-of-southern-california; https://www.change.org/p/president-carol-l-folt-usc-
    gould-partial-tuition-refund
28 89 Id.
      https://coronavirus.usc.edu/
    10
       https://coronavirus.usc.edu/2020/03/06/test-of-online-class-system/
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 1 announcement also cancelled all University events and stated that all athletics will be
 2 held without spectators. 11
 3            29.   On March 11, 2020, the University announced that it will be extending
 4 remote online learning through April 14, and that students may not return to campus
 5 until at least April 13.12
 6            30.   On March 16, 2020, the University further extended remote online
 7 learning, this time throughout the remainder of the Spring semester. The University also
 8 announced that commencement would not be held in person at the originally scheduled
 9 date, and that they were uncertain as to when or where it would be held. All events were
10 also to be cancelled through May 1. 13
11            31.   Further, in the March 16 announcement, the University posted the
12 following information regarding services and facilities:
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25            32.   On March 20, 2020, the University announced that it would be offering
26 students the option to receive a “Pass/No Pass” grade rather than the traditional letter
27   11
          https://coronavirus.usc.edu/2020/03/10/update-to-university-policies-and-plans/
28   12
          https://coronavirus.usc.edu/2020/03/11/notice-of-extended-period-of-remote-instruction/
     13
     14
          https://coronavirus.usc.edu/2020/03/16/covid-19-new-actions-2/
          Id.
                                               7
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 1 grade. 15 On March 30, the University stated that they will first allow students to review
 2 their letter grades, then make a determination as to if they would rather receive a “Pass”
 3 or “No Pass” grade. 16
 4         33.   The University ultimately expanded remote online learning throughout the
 5 Summer 2020 semester. Those who have paid tuition for the Summer 2020 semester
 6 have not received any discount or refund for the lack of in-person education that was
 7 paid for.
 8         34.   The University has not held any in-person classes since March 2020.
 9 Classes that have continued since that time have only been offered in a remote online
10 format with no in-person instruction or interaction.
11         35.   The University has not refunded the tuition and Mandatory Fees paid for
12 in-person on campus education, and access to facilities and services that were/are not
13 being provided.
14    The University’s Online Courses Are Subpar to In-Person Instruction, For Which
       Plaintiff and the Class Members Contracted with the University’s to Receive by
15                               Paying Tuition and Fees
16         36.   Students attending the University’s Spring 2020 and Summer 2020
17 semester did not choose to attend an online institution of higher learning, but instead
18 chose to enroll in the University’s in-person educational program.
19         37.   On their website, the University markets its on-campus experience and Los
20 Angeles location as a benefit of enrollment by stating:
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28   15
       https://coronavirus.usc.edu/2020/03/20/options-course-grades-withdrawals/
     16
       https://coronavirus.usc.edu/2020/03/30/important-modification-to-undergraduate-grading
     -policy/
                                             8
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          https://admission.usc.edu/live/our-campus/
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          https://admission.usc.edu/
          Id.
                                              9
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 1         38.    The online learning options being offered to the University’s students are
 2 sub-par in practically every aspect as compared to what the educational experience
 3 afforded Plaintiff and the members of the Class once was.
 4         39.    During the online portion of the Spring 2020 and Summer 2020 semester,
 5 the University offered some classes through Zoom. Other classes, however, were
 6 prerecorded for students to watch on their own time without real-time dialogue.
 7 Therefore, there was a significant lack of classroom interaction among teachers and
 8 students, and among individual students that is instrumental in interpersonal skill
 9 development.
10         40.    The online formats being used by the University’s do not require
11 memorization or the development of strong study skills given the absence of any
12 possibility of being called on in class and the ability to consult books and other materials
13 when taking exams.
14         41.    Further, the ability to receive a Pass/No Pass grade rather than a letter grade
15 provides educational leniency that the students would not otherwise have with the in-
16 person letter grading education that was paid for and expected.
17         42.    Students have been deprived of the opportunity for collaborative learning
18 and in-person dialogue, feedback, and critique.
19         43.    Access to facilities such as class rooms, libraries, laboratories, computer
20 labs, and study rooms, are also integral to a college education, and access to the myriad
21 activities offered by campus life fosters social development and independence, and
22 networking for future careers, all substantial and materials parts of the basis upon which
23 the University can charge the tuition it charges, but are not being provided.
24         44.    The University has not made any refund of any portion of the tuition
25 Plaintiff and the members of the Class paid for the Spring 2020 semester for the period
26 it moved to subpar on-line distance learning.
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 1         45.    Nor have the University refunded the Mandatory Fees it collected from
 2 Plaintiff and the members of the Class for the semester even though it limited access to
 3 or ceased the services and facilities for which the Mandatory Fees were intended to pay.
 4         46.    Plaintiff and the Class members are therefore entitled to a pro-rated refund
 5 of the tuition and Mandatory Fees they paid for the Spring 2020 semester for the
 6 remaining days of the semester after classes moved from in-person to online and
 7 facilities were closed or severally limited.
 8         47.    Class members who are paying and will continue to pay tuition and
 9 Mandatory Fees for the Summer 2020 semester and any future semester in which in-
10 person education is not provided should be entitled to an appropriate refund for the
11 decrease in value in the education provided.
12                            CLASS ACTION ALLEGATIONS
13         48.    Plaintiff brings this case individually and, pursuant to Rule 23 of the
14 Federal Rules of Civil Procedure, on behalf of the class defined as:
15         All persons who paid tuition and the Mandatory Fees for a student to
           attend in-person class(es) during the Spring 2020 semester, Summer
16         2020 semester, and any future semester at the University and its
           campuses, but had their class(es) moved to online learning (the “Class”).
17
18         49.    Excluded from the Class is Defendant, its subsidiaries and affiliates, its

19 officers, directors and members of their immediate families and any entity in which
20 Defendant has a controlling interest, the legal representative, heirs, successors or assigns
21 of any such excluded party, the judicial officer(s) to whom this action is assigned, and
22 the members of their immediate families.
23         50.    Plaintiff reserves the right to modify or amend the definition of the

24 proposed Class, if necessary, before this Court determines whether certification is
25 appropriate.
26         51.    This action has been brought and may properly be maintained on behalf of

27 the Class proposed herein under the criteria of Rule 23 of the Federal Rules of Civil
28 Procedure.

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 1            52.    The requirements of Rule 23(a)(1) have been met.           The Class is so
 2 numerous that joinder of all members is impracticable. Although the precise number of
 3 Class members is unknown to Plaintiff, the University has reported that 48,500 students
 4 were enrolled for the 2019-2020 academic year.20 The number of Summer 2020 students
 5 and future semester enrollment is unknown at this time. The identity of all such students
 6 is known to the University and can be identified through the University’s records. Class
 7 members may be notified of the pendency of this action by recognized, Court-approved
 8 notice dissemination methods, which may include U.S. Mail, electronic mail, Internet
 9 postings, and/or published notice.
10            53.    The requirements of Rule 23(a)(2) have been met. There are questions of
11 law and fact common to the members of the Class including, without limitation:
12                         a.     Whether the University accepted money from Plaintiff and the
13                   Class members in exchange for the promise to provide an in-person and on-
14                   campus live education, as well as access to certain facilities and services
15                   throughout the semester;
16                         b.     Whether Defendant breached its contracts with Plaintiff and
17                   the members of the Class by failing to provide them with an in-person and
18                   on-campus live education after mid-March, 2020;
19                         c.     Whether Defendant breached its contracts with Plaintiff and
20                   the members of the Class by failing to provide the services and facilities to
21                   which the Mandatory Fees pertained after mid-March, 2020;
22                         d.     Whether Defendant is unjustly enriched by retaining a portion
23                   of the tuition and Mandatory Fees during the period of time the University
24                   has been closed, and Plaintiff and the members of the Class have been
25                   denied an in-person and on-campus live education and access and the
26                   services and facilities for which the Mandatory Fees were paid;
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     20
          https://about.usc.edu/facts/
                                                12
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 1                       e.     Whether Defendant intentionally interfered with the rights of
 2                the Plaintiff and the Class when it moved all in-person classes to a remote
 3                online format, cancelled all on-campus events, strongly encouraged
 4                students to stay away from campus, and discontinued services for which
 5                the Mandatory Fees were intended to pay, all while retaining the tuition and
 6                Mandatory Fees paid by Plaintiff and the Class; and
 7                       f.     The amount of damages and other relief to be awarded to
 8                Plaintiff and the Class members.
 9         54.    The requirements of Rule 23(a)(3) have been met. Plaintiff’s claims are
10 typical of the claims of the members of the Class because Plaintiff and the other Class
11 members each contracted with Defendant for it to provide an in-person and on-campus
12 live education for the tuition they paid, and access to the services and facilities for the
13 Mandatory Fees that they paid, that the University stopped providing in mid-March.
14         55.    The requirements of Rule 23(a)(4) have been met. Plaintiff is an adequate
15 class representative because his interests do not conflict with the interests of the other
16 Class members who he seeks to represent, Plaintiff has retained competent counsel who
17 are experienced in complex class action litigation, and Plaintiff intends to prosecute this
18 action vigorously. Class members’ interests will be fairly and adequately protected by
19 Plaintiff and his counsel.
20         56.    Class certification of Plaintiff’s claims is also appropriate pursuant to
21 Rule 23(b)(3) because the above questions of law and fact that are common to the Class
22 predominate over questions affecting only individual members of the Class, and because
23 a class action is superior to other available methods for the fair and efficient adjudication
24 of this litigation. The damages or financial detriment suffered by individual Class
25 members are relatively small compared to the burden and expense of individual litigation
26 of their claims against the University. It would, thus, be virtually impossible for the
27 Class, on an individual basis, to obtain effective redress for the wrongs committed
28 against them.      Furthermore, individualized litigation would create the danger of

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 1 inconsistent or contradictory judgments arising from the same set of facts.
 2 Individualized litigation would also increase the delay and expense to all parties and the
 3 court system from the issues raised by this action. By contrast, the class action device
 4 provides the benefits of adjudication of these issues in a single proceeding, economies
 5 of scale, and comprehensive supervision by a single court, and presents no unusual
 6 management difficulties under the circumstances.
 7                                FIRST CLAIM FOR RELIEF
 8                                 BREACH OF CONTRACT
 9                             (On Behalf of Plaintiff and the Class)
10          57.   Plaintiff repeats and re-alleges the factual allegations above, as if fully
11 alleged herein.
12          58.   Plaintiff brings this claim individually and on behalf of the members of the
13 Class.
14          59.   By paying the University tuition and the Mandatory Fees for the semester,
15 the University agreed to, among other things, provide an in-person and on-campus live
16 education, as well as access to the services and facilities to which the Mandatory Fees
17 they paid pertained throughout the entire semester. As a result, Plaintiff and each
18 member of the Class entered into a binding contract with the University.
19          60.   The University has failed to provide this contracted for in-person and on-
20 campus live education as well as the services and facilities to which the Mandatory Fees
21 pertained throughout the semester, yet has retained monies paid by Plaintiff and the
22 Class for a live in-person education and access to these services and facilities during the
23 entire semester. Plaintiff and the members of the Class have therefore been denied the
24 benefit of their bargain.
25          61.   Plaintiff and the members of the Class have suffered damage as a direct and
26 proximate result of the University’s breach in the amount of the prorated portion of the
27 tuition and Mandatory Fees they each paid during the remainder of the Spring 2020
28 semester, Summer 2020 semester, and for any future semesters.

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 1         62.    The University should return such portions to Plaintiff and each Class
 2 Member.
 3                              SECOND CLAIM FOR RELIEF
 4                                  UNJUST ENRICHMENT
 5                           (On Behalf of Plaintiff and the Class)
 6         63.    Plaintiff repeats and re-alleges the factual allegations above, as if fully
 7 alleged herein.
 8         64.    In the alternative, should there be a finding that no contract exists, Plaintiff
 9 brings this claim individually and on behalf of the members of the Class.
10         65.    Plaintiff and members of the Class conferred a benefit on the University in
11 the form of tuition and Mandatory Fees paid for the semester. The payment of the tuition
12 and Mandatory Fees were to be in exchange for an in-person and on-campus live
13 educational experience, and for services and facilities to which the Mandatory Fees
14 pertained throughout the entire semester.
15         66.    The University has retained the full benefit of the tuition and Mandatory
16 Fees payments by Plaintiff and the members of the Class for the semester, yet has failed
17 to provide the quality of education and services and facilities for which tuition and the
18 Mandatory Fees were paid, including those for an in-person and on-campus live
19 education, and full access to the University’s services and facilities.
20         67.    The University’s retention of the portion of the tuition and Mandatory Fees
21 during the period of time the University moved to a remote online education program,
22 encouraged students to stay off campus, and closed or limited access to services and
23 facilities, and Plaintiff and the members of the Class have been denied an in-person and
24 on-campus live education and access and the services and facilities for which the
25 Mandatory Fees were paid, is unjust and inequitable under the circumstances.
26         68.    Accordingly, the University should return the prorated portion of the tuition
27 and Mandatory Fees that Plaintiff and the Class members each paid during the remainder
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 1 of the Spring 2020 semester, the entirety of the Summer 2020 semester, and any future
 2 semesters.
 3                              THIRD CLAIM FOR RELIEF
 4                                      CONVERSION
 5                          (On Behalf of Plaintiff and the Class)
 6         69.   Plaintiff repeats and re-alleges the factual allegations above, as if fully
 7 alleged herein.
 8         70.   In the alternative, should there be a finding that no contract exists, Plaintiff
 9 brings this claim individually and on behalf of the members of the Class.
10         71.   Plaintiff and members of the Class have a right to the services, facilities,
11 and face to face instruction that was supposed to be provided in exchange for their
12 payments of tuition, and Mandatory Fees to the University. In the alternative, should
13 those services, facilities, and face to face instruction not be provided, Plaintiffs and
14 members of the Class have a right to be reimbursed pro-rated tuition and Mandatory
15 Fees.
16         72.   The University intentionally interfered with the rights of the Plaintiff and
17 the Class when it moved all in-person classes to a remote online format, cancelled all
18 on-campus events, and discontinued services for which the Mandatory Fees were
19 intended to pay, all while retaining the tuition and Mandatory Fees paid by Plaintiff and
20 the Class.
21         73.   Class members demanded the pro-rata return of their tuition and Mandatory
22 Fees for the period of time in the semester when the University switched to remote online
23 learning, encouraged students to stay off campus, and stopped providing the services for
24 which the Mandatory Fees were intended to pay.
25         74.   The University’s retention of the tuition and Mandatory Fees paid by
26 Plaintiff and the Class without providing the services for which they paid, deprived
27 Plaintiff and Class of the benefits for which the tuition and Mandatory Fees were paid.
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 1          75.       The University’s interference with the services for which Plaintiff and the
 2 Class paid harmed Plaintiff and the Class in that the University has retained monies that
 3 rightfully belong to the Plaintiff and Class.
 4          76.       The University intends to permanently deprive Plaintiff the Class of these
 5 funds.
 6          77.       The University has wrongfully converted these specific and readily
 7 identifiable funds.
 8          78.       Plaintiff and the Class are entitled to the return of the remaining pro-rated
 9 amounts of tuition and Mandatory Fees for the remainder of the Spring 2020 semester,
10 the entirety of the Summer 2020 semester, and for any future semesters.
11                                      PRAYER FOR RELIEF
12          WHEREFORE, Plaintiff respectfully requests that judgment be entered in favor
13 of Plaintiff and the Class against Defendant as follows:
14                    (a)    For an order certifying the Class under Rule 23 of the Federal Rules
15          of Civil Procedure and naming Plaintiff as representative of the Class and
16          Plaintiff’s attorneys as Class Counsel to represent the Class;
17                    (b)    For an order finding in favor of Plaintiff and the Class on all counts
18          asserted herein;
19                    (c)    For compensatory damages in an amount to be determined by the
20          trier of fact;
21                    (d)    For an order of restitution and all other forms of equitable monetary
22          relief;
23                    (e)    Awarding Plaintiff’s reasonable attorneys’ fees, costs, and expenses;
24                    (f)    Awarding pre- and post-judgment interest on any amounts awarded;
25          and,
26                    (g)    Awarding such other and further relief as may be just and proper.
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                                      CLASS ACTION COMPLAINT
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 1                             DEMAND FOR TRIAL BY JURY
 2         Pursuant to the Federal Rule of Civil Procedure 38(b), Plaintiff demand a trial by
 3 jury of any and all issues in this action so triable of right.
 4 Dated: June 23, 2020                   CARLSON LYNCH LLP
 5                                  By: /s/ (Eddie) Jae K. Kim
                                        (EDDIE) JAE K. KIM (236805)
 6                                      ekim@carlsonlynch.com
                                        117 East Colorado Blvd., Suite 600
 7                                      Pasadena, CA 91105
                                        Tel: 619-762-1910
 8                                      Fax: 412-231-0246
 9                                        CARLSON LYNCH LLP
                                          GARY F. LYNCH (to be admitted pro hac vice)
10                                        gynch@carlsonlynch.com
                                          EDWARD W. CIOLKO (to be admitted pro hac vice)
11                                        eciolko@carlsonlynch.com
                                          1133 Penn Ave., 5th Floor
12                                        Pittsburgh, PA 15222
                                          Tel: 412-322-9243
13                                        Fax: 412-231-0246
14                                        Attorneys for Plaintiff and Proposed Class
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                                   CLASS ACTION COMPLAINT
